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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
 In re:                                                              ) Chapter 11
                                                                     )
 AMERIFIRST FINANCIAL, INC.,1                                        ) Case No. 23-11240 (TMH)
                                                                     )
                                                                     ) (Jointly Administered)
                                                                     )

                        DEBTORS’ WITNESS AND EXHIBIT LIST
                  FOR HEARING ON DECEMBER 18, 2023 AT 10:00 A.M. (ET)

          The above captioned debtors and debtors in possession (the “Debtors”) hereby submit this

witness and exhibit list in connection with the hearing scheduled for December 18, 2023, at 10:00

a.m. (ET), before the Honorable Thomas M. Horan, at the United States Bankruptcy Court for the

District of Delaware, located at 824 N. Market Street, 3rd Floor, Courtroom No. 7, Wilmington,

Delaware 19801 (the “Hearing”), at which time some or all of the following motions (the

“Motions”) will be heard:

           Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to

              Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting

              Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)

              Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 21]; and

           Motion of the Official Committee of Unsecured Creditors of AmeriFirst Financial, Inc.,

              et al. for an Order Granting (I) Leave, Standing, and Authority to Commence and

              Prosecute Certain Claims on Behalf of the Debtors’ Estates and (II) Exclusive

              Settlement Authority in Respect of Such Claims (Docket No. 470).


1 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
Suite 225, Unit 236, Chandler, AZ 85225.



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                                               WITNESSES

         The Debtors designate the following persons as witnesses in connection with the Motions:

         (1)       T. Scott Avila, the Debtors’ Chief Restructuring Officer.

         (2)       Jeffrey Dane, Independent Director.

         (3)       Eric Bowlby.

         The Debtors also cross designate all witnesses designated by any other party in connection

with the Motions and reserve the right to call any necessary rebuttal or impeachment witnesses.

                                               EXHIBITS

         The Debtors designate the following exhibits that may be used at the Hearing in connection

with the Motions:

 Exhibit No.         Document Description                                      Docket No.
                     Execution Version of Credit and Security Agreement
 1.                                                                            338- Exhibit A
                     dated as of April 21, 20212
                     UCC Financing Statement
 2.                                                                            338- Exhibit B
                     Subordination Agreement
 3.                                                                            338- Exhibit C
                     FY 2022 P&L
 4.                                                                            338- Exhibit D
                     2023 August YTD P&L
 5.                                                                            338- Exhibit D
                     12/2/22 RCP to Flagstar Default Notice
 6.                                                                            338- Exhibit E
                     12/27/22 Kasowitz to RCP Default Notice
 7.                                                                            338- Exhibit F
                     1/4/23 Quinn Response Letter
 8.                                                                            338- Exhibit G
                     1/11/23 RCP to AFI Default Notice
 9.                                                                            338- Exhibit H
                     3/31/23 Term Sheet
 10.                                                                           338- Exhibit I
                     Execution Version of Amended and Restated Credit and
 11.                                                                           338- Exhibit J
                     Security Agreement dated as of May 15, 2023




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                     Second Amendment to Credit Agreement dated 5/15/23
 12.                                                                        338- Exhibit K
                     Settlement Agreement
 13.                                                                        338- Exhibit L
                     Pledge Agreement
 14.                                                                        338- Exhibit M
                     Security Agreement
 15.                                                                        338- Exhibit N
                     UCC Filing Amendment
 16.                                                                        338- Exhibit O
                     5/15/23 Side Letter
 17.                                                                        338- Exhibit P
                     Email dated 6/23/23
 18.                                                                        338- Exhibit Q
                     8/3/23 letter RCP to AFI
 19.                                                                        338- Exhibit R
                     8/22/23 Kasowitz to RCP Second Default Notice
 20.                                                                        338- Exhibit S
                     8/24/23 RCP to AFI Second Default Notice
 21.                                                                        338- Exhibit T
                     Revised Budget
 22.                                                                        353- Exhibit A

 23.                 Loan Servicing Rights Purchase and Sale Agreement      374 - Exhibit A

 24.                 Further Revised Budget                                 447

 25.                 Transcript of October 26, 2023 Hearing                 N/A
                     Email from Eric Bowlby to Matt Stein dated September
 26.                 18, 2023 Re: Amerifirst - Notice of Committee          N/A
                     Appointment
                     Transcript of Eric Bowlby Deposition, October 24,
 27.                 2023                                                   N/A

 28.                 Revised Budget                                         TBF


         The Debtors also cross designate all exhibits designated by any other party in connection

with the Motions and reserve the right to use additional exhibits for rebuttal or impeachment

purposes. The Debtors reserve the right to amend or supplement this witness and exhibit list prior

to the Hearing.




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 Dated: December 14, 2023                PACHULSKI STANG ZIEHL & JONES LLP


                                         /s/ Laura Davis Jones
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                                         David M. Bertenthal (CA Bar No. 167624)
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